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 8 UNITED STATES OF AM ERICA,                       )
                                                    )
 9                         Plaintiff,               )
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10            v.                                    )               2:12-CR-247-GM N-(PAL)
                                                    )
l1 ENOC ADRIAN RENTERIA,                            )
                                                    )
12                         Defendant.               )
13                            FINAL ORDER OF FORFEITURE AS TO
                              DEFENDANT ENO C ADRIAN RENTERIA
14

15            On September4,2012,thisCourtenteredaPreliminary OrderofForfeiturepursuanttoTitle

16 l8,unitedStatesCode,Section982(a)(7);and-fitlel8,UnitedStatesCode,Section981(a)(1)(C)and
17 Title28,United StatesCode,Section 246l(c),forfeiting property ofdefendantENOC ADRIAN
18 RENTERIA totheUnited StatesofAmerica.InformationsECF No.4;PleaM emorandum ,ECFNo.
19     7;M inutesofChangeofPleaProceedings,ECF No.9;Prelim inaryOrderofForfeiture,ECF No.18.
20            IT IS HEREBY ORDERED,ADJUDOED,AND DECREED pursuantto Fed.R.Crim .P

21 32.2(b)(4)(A)and(B)thattheforfeitureofthepropertynamedinthePreliminaryOrderofForfeiture
22     is finalas to defendantEN O C A D RIAN REN TERIA .

23            DATEDthis/F dayof hf é./e'- ,2012.
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